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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

Wells Fargo Bank, National Association,         )       Civil Action No. 3:16-1296-MBS
                                                )
                                   Plaintiff,   )
                                                )
               vs.                              )        DEFENDANT’S IDENTIFICATION
                                                )            OF EXPERT WITNESS
Stewart Title Guaranty Company,                 )
                                                )
                                 Defendant.     )
                                                )

       Pursuant to the Court’s Conference and Scheduling Order filed September 21, 2016 (ECF

No. 21) and Rule 26(a)(2)(A) of the Federal Rules of Civil Procedure, Defendant Stewart Title

Guaranty Company, (“Defendant”) by and through its undersigned counsel, discloses the

following individual who will appear as an expert witness on its behalf during the trial of the

above-referenced matter:

       G. Hamlin O’Kelley, III, Esquire
       Buist Byars & Taylor, LLC
       652 Coleman Blvd., Ste. 200
       Mt. Pleasant, SC 29464
       (843) 856-4488

       Additionally, the undersigned certifies that a written report, containing those items as

required by Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure, prepared and signed by the

above-referenced expert witness has been disclosed to counsel for the Plaintiff.




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                           SOWELL GRAY ROBINSON STEPP & LAFFITTE, L.L.C.


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                                 Company

Columbia, South Carolina
January 18, 2017




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